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      EXHIBIT B
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 case # 2:16-cv-15607-KDE-MBN




                    Deborah Johnson




        Not applicable




         Not applicable
                                           Louisiana

                                                       Louisiana
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       X




                                           Eastern District of Louisiana




       x
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                          August 2010 - December 2010




                   Louisiana




          I experienced permanent hair loss after being administered docetaxel/ Taxotere.



           X
           X
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           X
           X
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           X
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Louisiana Products Liability Act; La. Rev. Stat. Ann. Section 9:2800.51 et seq.
Fraud; La. C. C. Art. 1953
Unfair and Deceptive Practices; La. Rev. Stat. Section 1:1409




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